  Case 2:07-md-01873-KDE-MBN Document 14441-3 Filed 06/21/10 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                     MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                  SECTION “N-5"

                                                                     JUDGE ENGELHARDT


THIS DOCUMENT IS RELATED TO:
Catherine Mayes and James W. Mayes, et al
v Frontier RV, Inc., et al., Case No. 2:10-cv-480

______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

August 2nd, 2010, or until __________________, 2010, to serve the Defendants.

       IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Second Motion

for Extension of Time to Serve.

       DATED this ____ day of _______________, 2010 in New Orleans, Louisiana.



                                            By:     ____________________________________
                                                    KURT D. ENGELHARDT
                                                    UNITED STATES DISTRICT JUDGE


Submitted By:
Rose M. Hurder
Hawkins Stracener & Gibson, PLLC
153 Main Street
Bay St. Louis, MS 39520
Ph: (228)467-4225
Fax: (228)467-4212
rose@hsglawfirm.net
